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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Jacqueline Stevens
                                             Plaintiff,
v.                                                         Case No.: 1:18−cv−05391
                                                           Honorable Mary M. Rowland
Broadcasting Board of Governors, et al.
                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 21, 2021:


        MINUTE entry before the Honorable Mary M. Rowland: The court has reviewed
the joint status report. The parties continue to work together to determine whether some of
the remaining issues in this case can be resolved without the court's involvement. The
parties are working together to determine the scope of any remaining issues relating to the
agencies' withholdings. Telephonic status set for 11/22/21 at 9:30am. Counsel shall call
866−434−5269; access code 3751971. At that point the parties must be prepared to report
the matter is resolved or report on the next steps in litigation for this 2018 case. Mailed
notice. (dm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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